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                       EXHIBIT “FF”
       Case
11/18/21, 12:30 1:21-cv-24324-DPG
                PM                                                   Document 1-35 EnteredSEC
                                                                                           onFORM
                                                                                              FLSD4 Docket 12/14/2021 Page 2 of 2

 SEC Form 4
                FORM 4                                  UNITED STATES SECURITIES AND EXCHANGE COMMISSION                                                                                         OMB APPROVAL
                                                                                                     Washington, D.C. 20549
                                                                                                                                                                                          OMB Number:                     3235-0287
                                                                                                                                                                                          Estimated average burden
       Check this box if no longer subject to                STATEMENT OF CHANGES IN BENEFICIAL OWNERSHIP                                                                                 hours per response:                   0.5
       Section 16. Form 4 or Form 5
       obligations may continue. See
       Instruction 1(b).                                                   Filed pursuant to Section 16(a) of the Securities Exchange Act of 1934
                                                                                  or Section 30(h) of the Investment Company Act of 1940

  1. Name and Address of Reporting Person*                                       2. Issuer Name and Ticker or Trading Symbol                                   5. Relationship of Reporting Person(s) to Issuer

   ARC Global Investments II LLC                                                 Digital World Acquisition Corp. [ DWACU ]                                     (Check all applicable)
                                                                                                                                                                           Director                 X        10% Owner
                                                                                                                                                                           Officer (give title               Other (specify
   (Last)                   (First)                  (Middle)                                                                                                              below)                            below)
                                                                                 3. Date of Earliest Transaction (Month/Day/Year)
   C/O DIGITAL WORLD ACQUISITION CORP.                                           09/08/2021
   78 SW 7TH STREET
                                                                                 4. If Amendment, Date of Original Filed (Month/Day/Year)                      6. Individual or Joint/Group Filing (Check Applicable Line)
  (Street)
                                                                                                                                                                      X    Form filed by One Reporting Person
   MIAMI                    FL                       33130
                                                                                                                                                                           Form filed by More than One Reporting Person

   (City)                   (State)                  (Zip)

                                                   Table I - Non-Derivative Securities Acquired, Disposed of, or Beneficially Owned
  1. Title of Security (Instr. 3)                                     2. Transaction       2A. Deemed            3.             4. Securities Acquired (A) or             5. Amount of           6. Ownership         7. Nature of
                                                                      Date                 Execution Date,       Transaction    Disposed Of (D) (Instr. 3, 4 and 5)       Securities             Form: Direct         Indirect
                                                                      (Month/Day/Year)     if any                Code (Instr.                                             Beneficially Owned     (D) or Indirect      Beneficial
                                                                                           (Month/Day/Year)      8)                                                       Following Reported     (I) (Instr. 4)       Ownership
                                                                                                                                                                          Transaction(s)                              (Instr. 4)
                                                                                                                                                   (A) or                 (Instr. 3 and 4)
                                                                                                                 Code    V      Amount                      Price
                                                                                                                                                   (D)

  Class A Common Stock                                                  09/08/2021                                 P            1,133,484(1)          A        $10          1,133,484(1)                 D

                                                        Table II - Derivative Securities Acquired, Disposed of, or Beneficially Owned
                                                                   (e.g., puts, calls, warrants, options, convertible securities)
  1. Title of   2.             3. Transaction       3A. Deemed           4.              5. Number of          6. Date Exercisable and     7. Title and Amount of         8. Price of   9. Number of     10.                11. Nature
  Derivative    Conversion     Date                 Execution Date,      Transaction     Derivative            Expiration Date             Securities Underlying          Derivative    derivative       Ownership          of Indirect
  Security      or Exercise    (Month/Day/Year)     if any               Code (Instr.    Securities            (Month/Day/Year)            Derivative Security (Instr.    Security      Securities       Form:              Beneficial
  (Instr. 3)    Price of                            (Month/Day/Year)     8)              Acquired (A) or                                   3 and 4)                       (Instr. 5)    Beneficially     Direct (D)         Ownership
                Derivative                                                               Disposed of (D)                                                                                Owned            or Indirect        (Instr. 4)
                Security                                                                 (Instr. 3, 4 and 5)                                                                            Following        (I) (Instr. 4)
                                                                                                                                                                                        Reported
                                                                                                                                                       Amount or                        Transaction(s)
                                                                                                               Date          Expiration                Number of                        (Instr. 4)
                                                                         Code    V       (A)   (D)             Exercisable   Date          Title       Shares

  Class B                                                                                                                                  Class A
  Common             (2)            09/08/2021                             S                   1,650,000(4)        (2)           (2)       Ordinary    1,650,000(4)         $0 003       5,490,000(3)           D
  Stock                                                                                                                                     Shares

  Explanation of Responses
  1 These shares are underlying units (each unit consisting of one share of Class A common stock and one half of one warrant, each whole warrant exercisable to purchase one share of Class A common stock) held by ARC
  Global Investments II LLC (the "Sponsor"), acquired pursuant to a unit subscription agreement by and between the Sponsor and the issuer
  2 As described in the issuer's registration statement on Form S-1 (File No 333-256472) under the heading "Description of Securities--Founder Shares," the shares of Class B common stock, par value $0 0001 per share,
  will automatically be converted into shares of Class A common stock, par value $0 0001 per share, at the time of the issuer's initial business combination, on a one-for-one basis, subject to certain adjustments described
  therein, and have no expiration date
  3 These shares represent Class B common stock held by the Sponsor acquired pursuant to a subscription agreement by and between the Sponsor and the issuer
  4 In connection with the closing of the issuer's initial public offering, the Sponsor transferred these shares to anchor investors pursuant to investment agreements by and among the issuer, the Sponsor and each anchor
  investor as described in the Registration Statement under the heading "Summary - The Offering - Expressions of Interest "
                                                                                                                                         /s/ Patrick Orlando, as Managing
                                                                                                                                         Member of ARC Global             09/09/2021
                                                                                                                                         Investments II LLC
                                                                                                                                         ** Signature of Reporting Person               Date
  Reminder: Report on a separate line for each class of securities beneficially owned directly or indirectly.
  * If the form is filed by more than one reporting person, see Instruction 4 (b)(v).
  ** Intentional misstatements or omissions of facts constitute Federal Criminal Violations See 18 U.S.C. 1001 and 15 U.S.C. 78ff(a).
  Note: File three copies of this Form, one of which must be manually signed. If space is insufficient, see Instruction 6 for procedure.
  Persons who respond to the collection of information contained in this form are not required to respond unless the form displays a currently valid OMB Number.




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